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                     UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF NEW HAMPSHIRE


United States of America

                v.                           Case No. 10-cr-45-01/02-SM

Andrew B. Gray, Jr. and
Thomas E. Pelkey

                                    ORDER

      Defendant Gray’s motion to continue the final pretrial conference and trial

is granted (document 23). Trial has been rescheduled for the February 2011

trial period. Defendant Gray shall file a waiver of speedy trial rights not later

than November 26, 2010.       On the filing of such waiver, his continuance shall

be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference:      February 4, 2011 at 2:00 p.m.

      Jury Selection: February 15, 2011 at 9:30 a.m.
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      SO ORDERED.




                                  y___ teven J . McAuliffe
                                  * Chief Judge

November 18, 2010

cc:   Mark Sisti, Esq.
      Sven Wiberg, Esq.
      Clyde R.W. Garrigan, AUSA
      US Probation
      US Marshal




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